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   IT IS ORDERED as set forth below:



   Date: August 11, 2017                  ___________________________

                                                    W. Homer Drake
                                              U.S. Bankruptcy Court Judge
  _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

IN THE MATTER OF:           :               CASE NUMBERS
                            :
MEMORY LANE ASSISTED LIVING :               BANKRUPTCY CASE
OF BOWDON LLC,              :               15-10373-WHD
     Debtor.                :
                            :
                            :               IN PROCEEDINGS UNDER
                            :               CHAPTER 7 OF THE
                            :               BANKRUPTCY CODE

                                    ORDER

      The above-styled case, No. 15-10373-whd, filed by Memory Lane

Assisted Living of Bowdon LLC (hereinafter “Bowdon”), is the lead case

of four consolidated cases. The other three cases are as follows: No.

15-10371-whd, filed by Memory Lane of Bremen, LLC (hereinafter
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“Bremen”); No. 15-10372-whd, filed by Memory Lane Assisted Living,

LLC (hereinafter “Ocala”); and No. 15-10374-whd, filed by Southeast

Senior Management Group, LLC (hereinafter “Southeast”).                     When

discussing the debtors in these cases collectively, the Court will refer to

them as the “Debtors.” Unless otherwise noted, citations to the docket in

this Order are citations to the docket of the Bowdon case (15-10373-whd).

      Two matters are currently before the Court in these cases: (1) the

Debtors’ Applications for Approval of Employment of Smith Conerly

LLP as Counsel for Debtor (See, e.g., Doc. No. 9),1 and (2) Smith Conerly

LLP’s Final Applications for Chapter 11 Compensation (See, e.g., Doc.


1
  The Debtors filed substantially similar applications to employ in each of
the four cases, and this pattern of filing similar papers in each case
repeated itself throughout these cases. Therefore, so as not to clutter this
Order with citations to all four records, the Court will only provide
citations to the docket of the Bowdon case unless there is a substantial
difference between the filing in that case and the filing in the other case or
cases. Also, the reader may assume, unless otherwise noted, that any
paper cited in this Order as filed in the Bowdon case prefaced with the
“see, e.g.” signal has a substantial corollary filed in the other three cases.
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No. 62)2. These matters are core proceedings, see 28 U.S.C. § 157(b)(2),

over which this Court has subject matter jurisdiction, see 28 U.S.C. §§

157(a), 1334.

                                  Background

      The four cases—Bowdon, Bremen, Ocala, and Southeast—were

filed on February 20, 2015. Prior to the petition date, the Debtors were

all involved in the senior-care industry. Bowdon, Bremen, and Ocala

operated facilities in their respective cities (Bowdon, Georgia; Bremen,

Georgia; and Ocala, Florida), and Southeast served as a management

company.     On March 6, 2015, the Debtors, acting as “debtors in

possession,” see 11 U.S.C. § 1101(1), filed applications seeking the

Court’s approval of Smith Conerly LLP (hereinafter “SC”) as their

counsel. The Court did not enter an order on those applications.

2
  In the other three cases, the applications were amended, so the Court
addresses here the “Amended Applications” in the Bremen
(15-10371-whd, Doc. No. 71), Ocala (15-10372-whd, Doc. No. 54), and
Southeast (15-10374-whd, Doc. No. 55) cases.
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      Nevertheless, the cases proceeded, though not well. On June 24,

2015, Guy G. Gebhardt (hereinafter the “U.S. Trustee”), acting United

States Trustee for Region 21, filed motions to dismiss the Debtors’ cases.

(See, e.g., Doc. No. 29). The U.S. Trustee alleged that the Debtors had

failed to fulfill their obligations to file timely monthly reports and made

allegations that the Debtors were engaged in mismanagement of their

estates. The U.S. Trustee asserted that those monthly reports that were

filed showed “payment of extraordinary management fees; payment of

prepetition debts; payment of expenses or debts of insiders; and transfers

or commingling of funds among affiliates.”

      On July 7, 2015, Hanimi Challa, a creditor of the Debtors, filed

motions for appointment of a Chapter 11 trustee. (See, e.g., Doc. No.

36). Challa maintained that the Debtors’ cases were abusive, and he cited

multiple examples of what he termed “fraud and dishonesty” and

“incompetence and mismanagement.”

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      On July 29, 2015, the Court entered orders on both the U.S.

Trustee’s motions to dismiss and Challa’s motions for appointment of a

trustee, and converted all four cases to Chapter 7. (See, e.g., Doc. No.

40). James G. Baker (hereinafter the “Chapter 7 Trustee”) was appointed

as trustee for all four Debtors on July 29, 2015.

      In its order converting the cases, the Court directed all professionals

employed by the Debtors to file applications for final approval of their

fees. On August 12, 2015, SC filed its applications for compensation in

the four cases. In its applications, SC requested the following amounts:

    Bowdon: $7,570 in fees and $126.58 in expenses (Doc. No. 62)
    Bremen: $9,683 in fees and $42.43 in expenses (15-10371-whd,
     Doc. No. 54)
    Ocala: $6,566.50 in fees and $48.20 in expenses (15-10372-whd,
     Doc. No. 55)
    Southeast: $8,605 in fees and $4.13 in expenses (15-10374-whd,
     Doc. No. 68)

On August 28, 2015, SC filed supplements to its applications. (See, e.g.,

Doc. No. 68). In those supplements, SC explained that it did not “double

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bill” the estates—in situations where it had performed work that had

application to more than one of the cases, it divided the time spent equally

between each case that benefited from the work.3

      On September 1, 2015, Hanimi Challa and Jamuna Challa

(hereinafter, collectively, the “Challas”) filed objections to SC’s requests

for fees. (See, e.g., Doc. No. 69). The Challas argued that SC was not

disinterested during its time as counsel for the Debtors because the

Debtors had transferred money to each other pre- and post-petition, and

because SC had represented John Cheney, the Debtors’ sole member, in

pre-petition litigation in State Court. After citing a laundry list of alleged

misdeeds in the case, the Challas maintained that SC’s representation of

all four Debtors and Cheney allowed Cheney “to misappropriate and

divert funds from the four businesses with no recourse.” The Challas

requested that the Court deny all fees to SC and order SC to disgorge any

3
  At the hearing held on May 10, 2017, SC explained that it filed this
supplement in response to concerns raised by the U.S. Trustee.
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funds already received.

      SC’s fee applications came on for hearing on September 2, 2015.

At that hearing, the U.S. Trustee appeared and suggested that the Court

reset the matter to December to allow time for a review of SC’s conduct.

The Court adopted that recommendation, and directed that the parties

should report back sometime in December. However, the hearing was

not reset to a date certain.

      Nevertheless, once again, the case proceeded. On October 7, 2015,

the Chapter 7 Trustee filed motions requesting substantive consolidation

of the Debtors’ cases. (See, e.g., Doc. No. 73). The Court granted that

motion on November 5, 2015. (See, e.g., Doc. No. 76). On November

12, 2015, the Chapter 7 Trustee filed a motion to sell his interest in the

contracts, personal property, and possessory interests of the Debtors to the

Challas. (Doc. No. 78). That motion was granted on December 11,

2015. (Doc. No. 80).

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      Over a year later, having received nothing from any party

concerning SC’s outstanding fee applications, the Court entered an order

on February 9, 2017, directing the Chapter 7 Trustee to submit a report

indicating the status of his investigation. (Doc. No. 91). On February

17, 2017, the Chapter 7 Trustee filed a status report. (Doc. No. 94). The

Chapter 7 Trustee stated that he had administered the assets of the estates

and had found multiple instances of transfers of money between the

Debtors and transfers made by the Debtors for the benefit of Cheney.

The Chapter 7 Trustee stated that the issue of whether SC was

representing the Debtors or Cheney was “a valid concern,” and suggested

the Court schedule a hearing to inquire into the situation. Finally, the

Chapter 7 Trustee noted that the Court never approved the Debtors’

applications to employ SC.

      After receiving the Chapter 7 Trustee’s status report, the Court

ordered a hearing and directed the parties to submit any briefs or

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memoranda of law they wished prior to the hearing. (Doc. No. 95). The

Challas were the only party to submit a brief, which they characterized as

a Supplemental Objection. (Doc. No. 104). In that brief, the Challas

made three arguments as to why SC’s fee applications should be denied:

(1) the Debtors failed to comply completely with an order of the Court

directing them to set aside funds as adequate protection (see e.g., Doc. No.

32); (2) the Debtors failed to file monthly reports for July 2015; and (3)

SC had engaged in post-conversion negotiations with the Chapter 7

Trustee on behalf of Cheney (or, more accurately, a proposed

management company owned by Cheney) concerning the management of

the Bowdon facility. In support of that final contention, the Challas

attached the affidavit of the Chapter 7 Trustee that outlined the Chapter 7

Trustee’s interaction with J. Nevin Smith, an attorney with SC, on the day

after the case was converted.            According to the affidavit, Smith

negotiated an arrangement whereby Cheney’s management group would

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manage the Bowdon facility during the month of August of 2015 for

$17,500, which was over $10,000 more than the management fees for the

Bowdon facility in June of 2015.

      The matters came on for hearing on May 10, 2017. Counsel for SC,

the Challas, and the U.S. Trustee all made appearances, as did the Chapter

7 Trustee. Counsel for SC first addressed the Debtors’ applications to

employ, stating that it was an administrative mistake that they did not

upload a proposed order on the application.                Turning to the fee

applications, he noted that no party apart from the Challas currently

objected to them, and sought to address the Challas’ objections.

Concerning the failure to set aside sufficient funds for adequate

protection, he simply stated that SC did not “control the checkbook.” He

then pointed out, correctly, that monthly reports were timely filed for July

2015.      (See, e.g., Doc. No. 59).               Finally, addressing SC’s

disinterestedness, he argued that the representation of Cheney pre-petition

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was in line with the interests of the Debtors. Still, he stated that SC

would reduce its requested fees and expenses to the amount of its

retainers—$3,238 per case. This would constitute a reduction from the

fees and expenses requested of just over 60%.

      In support of the objection, counsel for the Challas expounded on

the extensive misuse of funds in the cases, and highlighted Cheney’s

alleged bad conduct.          The Challas argued that SC was under a

responsibility either to reign Cheney in or to withdraw from the

representation. They suggested that SC’s failure to do so shows that SC

was not disinterested. The Challas also pointed to the large fee SC had

negotiated for Cheney’s management group after the Court converted the

cases.

      After hearing the arguments of counsel, the Court requested further

briefing within twenty days. On the Challas’ motion, the Court later

extended that deadline to June 9, 2017. The U.S. Trustee, the Challas,

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and SC have filed briefs. Having considered those briefs, the arguments

of counsel, and the dockets of the four consolidated cases, the Court

concludes as set forth below.

                                    Discussion

      As stated above, there are two matters before the Court: (1) the

applications to employ SC as counsel for Debtors; and (2) SC’s

applications for fees. Additionally, the Court will address two other

issues raised in the parties’ filings: the Challas’ entitlement to

reimbursement of their expenses for bringing their objection, and the

treatment of retainers in cases converted from Chapter 11 to Chapter 7.

A. Applications to Employ

      The Court will first address the applications to employ, for if the

Court does not approve SC’s employment, then it need not consider SC’s

fee applications. See generally 11 U.S.C. § 330(a) (allowing a court to

award reasonable compensation “to…a professional person employed

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under section 327”); Lamie v. U.S. Trustee, 540 U.S. 526, 529 (2004)

(affirming the decision of the United States Court of Appeals for the

Fourth Circuit that “in a Chapter 7 proceeding § 330(a)(1) does not

authorize the payment of attorney’s fees unless the attorney has been

appointed under § 327 of the Code”); In re W.T. Mayfield Sons Trucking

Co., Inc., 225 B.R. 818, 824 (Bankr. N.D. Ga. 1998) (Massey, J.)

(“[Section 330(a)(1)] does not authorize the court to approve

compensation from the estate to one not approved by the court under §

327.”).

      Ordinarily, it would take a showing of exceptional circumstances to

allow employment of professionals under § 327 this late in a case: the

Court is addressing applications to employ counsel for “debtors in

possession” not only over two years after the applications were filed, but

two years after the Debtors ceased to be “debtors in possession.” See

generally In re W.T. Mayfield Sons Trucking Co., Inc., 225 B.R. at 824; In

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re S. Diversified Props., Inc., 110 B.R. 992, 996 (Bankr. N.D. Ga. 1990)

(Cotton, J.).

      However, this situation is different from the norm.                  Here, the

Debtors did not wait to file their applications until this late hour. Instead,

they timely filed applications to employ, but no order was ever entered on

those applications. The practice of this Court has been to have parties

upload proposed orders on applications to employ for the Court’s

approval.       Despite SC’s long history of practice before this Court

(including numerous representations of debtors in Chapter 11 cases),

neither the Debtors nor SC ever submitted proposed orders, so the

applications lay undisturbed and seemingly forgotten. However, this

delay does not appear to have been motivated by bad intent. Indeed,

given the fact that neither the U.S. Trustee nor any other party in interest

ever even raised the issue of SC’s employment until the Chapter 7 Trustee

did so in his February 2017 status report, the Court will not hold this

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oversight against the Debtors or SC, and therefore will not hold the

applications to the heightened standard as if they were late-filed. See

generally In re W.T. Mayfield Sons Trucking Co., Inc., 225 B.R. at 823-24

(considering late-filed application to employ). Instead, the Court will

address these applications as if it were doing so when the Debtors filed

them at the beginning of the case. With that in mind, the Court turns to

the applications themselves.

1. Rule 2014

       Before addressing whether SC meets the requirements of the

Bankruptcy Code4 for employment, it is first necessary to address the

form and contents of the Debtors’ applications to employ SC to determine

if they are procedurally acceptable.           To assist courts in evaluating

professionals seeking employment by the estate, Federal Rule of

Bankruptcy Procedure 2014 requires an application to employ to contain

certain disclosures. See Fed. R. Bankr. P. 2014(a). Those include “any
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    11 U.S.C. § 101 et seq.
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proposed arrangement for compensation,” and “all of the [professional’s]

connections with the debtor, creditors, any other party in interest, their

respective attorneys and accountants, the United States trustee, or any

person employed in the office of the United States trustee.” Id. This

requires   a   full   and      complete       disclosure   in   the   application

itself—“Bankruptcy courts are not obliged to hunt around and ferret

through thousands of pages in search of the basic disclosures required by

Rule 2014.” Quarles and Brady LLP v. Maxfield (In re Jennings), 199 F.

App’x 845, 848 (11th Cir. 2006) (per curiam). Importantly, violating

Rule 2014 does not mean an automatic denial of the application. If a

party violates Rule 2014, “each Court has an independent duty to fashion

the appropriate remedy on a case-by-case basis….There is no simple test

to apply[.]” In re Hutch Holdings, Inc., 532 B.R. 866, 881 (Bankr. S.D.

Ga. 2015) (second alteration in original) (quoting In re Sportsman’s Link,

Inc., No. 07-10454, 2012 WL 2998410, at *4 (Bankr. S.D. Ga. July 17,

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2012)).

      The four applications, including the attached affidavits of Mr.

Smith, are substantially similar.             They all state that SC “has no

professional, business, or other connection with the Debtor, its creditors,

or any party-in-interest in this case.” They also state that SC “represents

no interest that would be adverse to the estate of the Debtor in connection

with the matters upon which ‘SC’ is to be engaged.” Finally, they

disclose that SC has received a retainer and the funds to pay the filing fee.

      The Court has two issues with the applications. First—and most

glaringly—the applications all state that there is a résumé attached to the

filing detailing the terms and conditions of SC’s employment, including

its hourly rates. The Court has reviewed the dockets of the cases, and

there are no résumés. Consequently, the applications, on their face, fail

to satisfy Rule 2014 by failing to disclose the proposed arrangement for

compensation between the parties.

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      The second issue is that none of the applications mention that SC has

represented the sole member of the Debtors in non-bankruptcy litigation,

nor do any of the applications indicate that SC is seeking employment in

four cases involving debtors who are all affiliated and who have

intermingled their funds. At least one court has found that the failure to

disclose these kinds of parallel applications is a violation of Rule 2014.

See In re Lee, 94 B.R. 172, 176 (Bankr. C.D. Cal. 1988); see also In re

Atlanta Sporting Club, 137 B.R. 550, 553 (Bankr. N.D. Ga. 1991) (Drake,

J.) (noting failure to disclose relationships with affiliated entities).

      As mentioned above, failure to comply with Rule 2014 does not

result in automatic disqualification. See In re Atlanta Sporting Club, 137

B.R. at 553 (“[T]he Court does not hold that a failure to disclose this

information is per se grounds for disqualification….”). In this case, the

Court does not find that SC deliberately attempted to circumvent the

requirements of the Code. Nevertheless, SC has certainly been careless,

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even cavalier, concerning compliance with Rule 2014. For that reason,

the Court finds that, assuming the Court awards SC any fees or expenses

at all, a severe reduction in the amount awarded to SC is appropriate. SC

has already reduced their requested compensation and expenses by

approximately 60%, but the Court finds that a further reduction to $2,000

per case (for a total of $8,000) is appropriate.

2. Section 327

      Just because the Court has dealt with the procedural aspects of the

applications does not mean that SC’s employment is approved: the Court

must still determine whether SC meets the criteria of § 327. In a Chapter

11 case, a “debtor in possession” (hereinafter a “DIP”) has, with some

limitations, the powers of a trustee. 11 U.S.C. § 1107(a). Included in

these is the power to employ professionals.             See 11 U.S.C. § 327.

Section 327(a) allows a DIP, “with the court’s approval,…[to] employ

one or more attorneys.”          11 U.S.C. § 327(a).        In deciding which

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attorneys to employ, a DIP’s choice is limited to attorneys “that do not

hold or represent an interest adverse to the estate, and that are

disinterested persons.”         Id.    This ensures “that all professionals

appointed pursuant to [§] 327(a) tender undivided loyalty and provide

untainted advice and assistance in furtherance of their fiduciary

responsibilities.” Rome v. Braunstein, 19 F.3d 54, 58 (1st Cir. 1994)

(Cyr, J.).

      The Code defines a “disinterested person” as

      a person that—(A) is not a creditor, an equity security holder,
      or an insider; (B) is not and was not, within 2 years before the
      date of the filing of the petition, a director, officer, or
      employee of the debtor; and (C) does not have an interest
      materially adverse to the interest of the estate or of any class of
      creditors or equity security holders, by reason of any direct or
      indirect relationship to, connection with, or interest in, the
      debtor, or for any other reason.

11 U.S.C. § 101(14). In this case, there is no allegation that SC runs afoul

of (A) or (B), so the analysis will focus on (C): an adverse interest. What

constitutes “holding[ing] or represent[ing] an interest adverse to the
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estate” is not defined in the Code, but courts have defined an adverse

interest as

      possessing, or serving as an attorney for a person possessing,
      either an ‘economic interest that would tend to lessen the value
      of the bankruptcy estate or that would create either an actual or
      potential dispute in which the estate is a rival claimant…or…a
      predisposition under the circumstances that render such a bias
      against the estate.’

In re Hutch Holdings, Inc., 532 B.R. at 876 (quoting Electro-Wire Prods.,

Inc. v. Sirote & Permutt, P.C. (In re Prince), 40 F.3d 356, 361 (11th Cir.

1994)).   As one can see, the requirements that a professional be a

disinterested person and not hold an adverse interest “significantly

overlap.” Id.

      In the instant case, the Challas have raised two reasons why SC is

not disinterested and should not be employed by the Debtors’ estates.

First, they point to the fact that the Debtors were transferring and

intermingling funds among themselves and making payouts to Cheney,

whom SC had represented in state court litigation prior to the petition, and
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that these could be considered either fraudulent or preferential transfers.

Additionally, the Challas note that SC represented Cheney in negotiations

with the Chapter 7 Trustee after conversion. Both of these facts, the

Challas argue, suggest that SC was not disinterested and, thus, disqualify

SC from representing the Debtors.

      In response, SC argues that § 327 does not bar the representation of

an entity with an interest adverse to the estate, but only the representation

of that interest itself. Concerning the post-conversion negotiations with

the Chapter 7 Trustee, SC asserts that it was no longer representing the

Debtors at that time, and therefore its representation of Cheney against the

estates in that instance does not undermine its disinterestedness prior to

conversion.

      Because the Court is addressing these applications as if it were doing

so when the applications were filed, it is not concerned at this time with

the post-conversion negotiations. It will take up that issue, if necessary,

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when resolving SC’s fee applications. For now, the Court will focus on

whether SC’s representation of Cheney pre-petition and its representation

of the four Debtors at once—the conditions existing at the beginning of

these cases—rendered SC non-disinterested to the point that its

employment should not be approved under § 327.

      The presence of pre-petition transfers between the Debtors, as well

as pre-petition payments from the Debtors to Cheney, whom SC

represented in state court litigation prior to the petition, complicates

matters. These transfers could potentially be fraudulent or preferential,

and, thus, subject to avoidance under the Code.              See 11 U.S.C. §§

544-550. This is problematic, as an avoidance or recovery action would

pit the Debtors’ estates against each other and against Cheney. If SC is

allowed to represent the Debtors simultaneously, particularly in actions

against a former client, its ability to unbiasedly review the situation could

be called into question. See In re Jennings, 199 F. App’x at 849 (quoting

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the district court) (“The district court affirmed, explaining that these

conflicts ‘prejudiced the bankruptcy estates that the law firm represented

and deprived each of unbiased, independent assessments of the available

and outstanding claims.’ Again, we agree.”). Additionally, even if

these transfers are not fraudulent or preferential, the simple fact that SC

could be in a position to represent both a debtor and a party who owes

money to or is owed money by that debtor, suggests an adverse interest.

See Roger J. Au & Son, Inc. v. Aetna Ins. Co. (In re Roger J. Au & Son,

Inc.), 64 B.R. 600, 605 (N.D. Ohio 1986); but see 11 U.S.C. § 327(c)

(“[A] person is not disqualified for employment under this section solely

because of such person’s employment by or representation of a creditor,

unless there is objection by another creditor or the United States trustee, in

which case the court shall disapprove such employment if there is an

actual conflict of interest.”).

      On that point, SC argues that the mere representation of an entity

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with an interest adverse to the estate is not disqualifying as long as counsel

does not represent that interest. In support, SC cites to In re Ellipso, 462

B.R. 241 (Bankr. D.D.C. 2011), which states that “[t]he Bankruptcy Code

does not bar the representation of an entity with an interest adverse to the

estate but, rather, the representation of an interest adverse to the estate.”

Id. at 251 (emphasis in original). This interpretation comports with a

narrow reading of § 327 which prohibits only the “hold[ing] or

represent[ing] [of] an interest adverse to the estate.” 11 U.S.C. § 327(a)

(emphasis added). The Eleventh Circuit has not interpreted § 327(a) so

narrowly. See In re Prince, 40 F.3d at 361. As stated earlier in this

Order, the circuit court has defined “interest adverse to the estate” to

include “possessing, or serving as an attorney for a person possessing,”

such an interest. In re Hutch Holdings, Inc., 532 B.R. at 876 (emphasis

added) (quoting In re Prince, 40 F.3d at 361).

      Accordingly, the prior representation of an insider of the debtor or

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representation of related bankruptcy estates can be grounds for

disqualification. See In re Jennings, 199 F. App’x at 849 (discussing

conflicts of interest preventing counsel from representing debtors in

consolidated Chapter 11 cases); In re Atlanta Sporting Club, 137 B.R. at

552 (“[The prior representation of a general partner] clearly indicates an

adverse interest to the debtor…on the part of counsel….”).          However, in

such situations, there is, once again, no per se rule requiring

disqualification of counsel. Cf. In re Hutch Holdings, Inc., 532 B.R. at

877. Instead, a court should adopt a “flexible approach” and “determine

if there is an actual conflict.” See In re Waterfall Village of Atlanta, Ltd.,

103 B.R. 340, 344 (Bankr. N.D. Ga. 1989) (Cotton, J.); see also 11 U.S.C.

§ 327(c).

      The Eleventh Circuit applies a two-part test to determine whether a

lawyer should be disqualified from a representation: (1) “at least a

reasonable possibility that some specifically identifiable impropriety did

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occur”; and (2) “the likelihood of public suspicion or obloquy outweigh[]

the social interest which will be served by a lawyer’s continued

participation in a particular case.” In re Waterfall Village of Atlanta,

Ltd., 103 B.R. at 344 (quoting Kleiner v. First Nat’l Bank of Atlanta, 752

F.2d 1193, 1210 (11th Cir. 1985)). Another judge of this District has

explained that this test required a court to determine whether an actual

conflict of interest occurred and whether the appearance of impropriety

outweighed the debtor’s interest in counsel of its choosing. See id. at

344-45. The distinction between actual and potential conflicts is critical,

as a potential conflict of interest “generally is not disqualifying as long as

no actual conflict of interest develops.” Id. at 345 (emphasis in original).

But if there is an actual conflict of interest, a court must disqualify

counsel.   In re Hutch Holdings, Inc., 532 B.R. at 876.               Whether a

conflict is actual or potential is for the Court to decide. See In re

Waterfall Village of Atlanta, Ltd., 103 B.R. at 345 (quoting In re Martin,

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817 F.2d 175, 182 (1st Cir. 1987) (“It is for the court to decide whether the

attorney’s proposed interest carries with it a sufficient threat of material

adversity to warrant prophylactic action (say, disqualification or

disgorgement or invalidation of a lien).”)).

      Certainly the conditions here raise at least the potential for

conflict—the interrelatedness of the Debtors, combined with Cheney’s

interest as sole member of all of them, creates a perfect storm of potential

conflict that SC attempts to weather. But the Court finds that these are

potential conflicts, and do not rise to the level of actual conflict sufficient

to deny the applications to employ.            While there are indications of

misconduct pre-petition, no party has suggested any specific circumstance

constituting an actual conflict of interest that existed when these

applications were filed. The Court could deny the applications given the

potential for conflict existing even at the beginning of this case, but it will

not do so. The Court finds that, in this case, the better course is a “wait

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and see” approach—if actual conflicts arise, SC must either withdraw or

face disqualification. 5       Consequently, the Court will approve the

Debtors’ applications to employ SC.

B. Final Applications for Chapter 11 Compensation

       Of course, getting its employment approved is merely the first

hurdle for SC to clear—the Court must now decide whether, during the

course of SC’s representation of the Debtors, SC remained

“disinterested.” Section 328(c) provides,

      [T]he court may deny allowance of compensation for services
      and reimbursement of expenses of a professional person
      employed under section 327 or 1103 of this title if, at any time
      during such professional person’s employment under section
      327 or 1103…, such professional person is not a disinterested
      person, or represents or holds an interest adverse to the interest
      of the estate with respect to the matter on which such
      professional person is employed.
5
  The abnormal procedural history of this case forces the Court to engage
in a legal fiction. The Court understands that it is impossible to “wait
and see” what will happen in the past, but the best way to analyze these
applications is to pretend the Court is doing so at the time the case was
filed. The Court will discuss whether any of these potential conflicts
developed into actual conflicts in Part B, infra.
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11 U.S.C. § 328(c) (emphasis added). Thus, even though SC may have

only faced potential conflicts of interest at the beginning of the Debtors’

cases, if an actual conflict ever arose, the Court would be empowered to

deny SC its fees and expenses.

      As an initial point, the Court notes that the concerns over the

transfers between the Debtors and Cheney never blossomed into actual

conflicts. Though the Debtors did not pursue avoidance actions against

each other or against Cheney, this is not sufficient, on its own, to call SC’s

disinterestedness into question.        Instead, this failure “at best…raises

questions of business judgment,” and the Court will “not interfere with

such business judgment absent bad faith or abuse.” See In re Waterfall

Village of Atlanta, Ltd., 103 B.R. at 346. Here, the Court does not find

that SC has acted with bad faith or abusively in decisions concerning the

pursuit of these transfers.

      In addition to the transfers, the Challas raise two points concerning
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SC’s non-disinterestedness during the case. First, the Challas argue that

SC was complicit in the mismanagement that lead to the conversion of the

cases to Chapter 7. They argue that SC should have withdrawn from the

representation or done something to stop Cheney. Second, the Challas

maintain that SC’s representation of Cheney post-conversion was adverse

to the estate.

      Concerning the post-conversion negotiations, the Court agrees, to a

point, with the Challas. SC, by negotiating a management deal on behalf

of Cheney with the Chapter 7 Trustee, was representing an interest

“adverse to the estate”—the amount of payment Cheney’s management

company would receive from the estate was certainly “an economic

interest that would tend to lessen the value of the bankruptcy estate.” See

In re Prince, 40 F.3d at 361. However, as SC correctly argues, SC no

longer represented the Debtors (most importantly Bowdon, whose facility

was the one in need of management) at the time of those negotiations

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because the conversion of a Chapter 11 case to Chapter 7 “terminate[s]

[the debtor’s] status as debtor-in-possession and so terminate[s]

[counsel’s]    service    under      §    327    as   an    attorney      for   the

debtor-in-possession.” See Lamie, 540 U.S. at 532. SC was no longer

employed under § 327 from the moment the Court entered its order

converting the cases to Chapter 7, and therefore SC’s conduct after

conversion does not directly implicate § 328. See 11 U.S.C. § 328(c)

(allowing a court to disallow fees if counsel became non-disinterested or

took or took a position adverse to the estate “at any time during such

professional person’s employment under § 327.” (emphasis added)).

      Nevertheless, the fact that SC pivoted so quickly from representing

the Debtors to representing Cheney raises serious concerns about SC’s

conduct prior to conversion. That SC could so seamlessly transition from

its responsibilities to the Debtors to advocating for Cheney against the

Debtors implies that SC was acting for Cheney, rather than the Debtors,

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all along.

      This leads the Court into considering SC’s complicity in the

mismanagement of the Debtor.                  As a starting point, the Court

acknowledges that misbehavior in the management of a debtor by a

principal is generally not sufficient to warrant denial of fees and expenses

to debtor’s counsel. If it were, it would be the rare Chapter 11 counsel

that ever got paid when the case converted to Chapter 7 (or when a

Chapter 11 trustee was appointed).                See 11 U.S.C. § 1112(b).

Nonetheless, there can be situations in which a principal’s bad acts could

be attributed to counsel, such as if counsel advised the principal to take the

wrongful actions, or if counsel actively colluded with management to

undermine the estates.

       SC’s conduct post-conversion—negotiating what appears to be an

exorbitant    fee   for   Cheney’s        company      against    one     of   the

Debtors—suggests that SC may have fallen into this latter category of

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cases involving bad faith. However, neither the Challas nor any other

party in interest have pointed to any particular action taken by SC while

the case was in Chapter 11 that would lead to the conclusion that SC was

actively colluding with or assisting Cheney in undermining the Debtors’

estates. SC’s conduct post-petition, while certainly in bad taste, does not

convince the Court that SC lacked disinterestedness while it was

employed under § 327.

      Consequently, the Court finds that SC remained disinterested during

the pendency of the Debtors’ cases, and, therefore, SC’s request for fees

and reimbursement of expenses will be granted, subject to the reduction

discussed above.

C. The Challas’ Expenses

      In their objection, the Challas request that the Court award them the

costs of prosecuting their objection pursuant to § 503(b)(3)(B) and §

503(b)(3)(D). Section 503(b)(3)(B) allows a court to award expenses

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incurred by “a creditor that recovers, after the court’s approval, for the

benefit of the estate any property transferred or concealed by the debtor.”

11 U.S.C. § 503(b)(3)(B). Section 503(b)(3)(D) allows a court to award

expenses incurred by “a creditor…in making a substantial contribution in

a case under chapter 9 or 11 of this title.” 11 U.S.C. § 503(b)(3)(D).

These awards are “administrative expenses,” see 11 U.S.C. § 503(b),

which are entitled to priority in the Chapter 7 distribution scheme, see 11

U.S.C. § 726(a); see also 11 U.S.C. § 507(a)(2).

      Here, pretermitting whether the Challas recovered any property

“transferred or concealed by the Debtor,” they are not entitled to any

award of expenses under paragraph (B) because they did not obtain prior

Court approval before proceeding with their objection. See 11 U.S.C. §

503(b)(3)(B) (allowing fees for recovery obtained “after the court’s

approval”); In re Engler, 500 B.R. 163, 173 (Bankr. M.D. Fla. 2013)

(“[T]he Court concludes that the creditors were required to obtain prior

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court approval before they are entitled to an administrative expense claim

under § 503(b)(3)(B).”); In re Spencer, 35 B.R. 280, 282 (Bankr. N.D. Ga.

1983) (“[B]ecause in the instant case the applicant did not seek prior

approval, it is not entitled to such recovery….”). Neither are they entitled

to recover under paragraph (D). These cases were converted to Chapter

7, and the award of expenses under paragraph (D) is not available in

Chapter 7 cases—“the ‘substantial contribution’…must occur ‘in a case’

under chapter 11 [or chapter 9].” See Lebron v. Mechem Fin. Inc., 27

F.3d 937, 945 (3rd Cir. 1994); accord In re Engler, 500 B.R. at 174. In

that vein, the Third Circuit Court of Appeals has held that “[e]xpenses

incurred after a chapter 11 case is converted to one under chapter 7…are

not recoverable pursuant to [§ 503(b)(3)(D)].” Lebron, 27 F.3d at 945;

but see Mediofactoring v. McDermott (In re Connolly N. Am., LLC), 802

F.3d 810, 819 (6th Cir. 2015). This Court agrees. In the instant cases,

the Challas did not raise any issue concerning SC’s conduct (or its fees),

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until after the cases entered Chapter 7. Therefore, they are not entitled to

expenses under paragraph (D).

D. Disgorgement of Retainer

        In his brief, the U.S. Trustee discusses at length the issue of

disgorgement of retainers held by Chapter 11 counsel when a case is

converted to Chapter 7 and is administratively insolvent. However, at no

point does the U.S. Trustee request disgorgement or even assert that the

estates in these cases are administratively insolvent. Consequently, the

Court will not address the issue here, but will allow those parties with

standing to do so to file objections to SC’s application of the retainers to

its awards. If objections are filed, the Court will entertain the issue at that

time.

                                 CONCLUSION

        In accordance with the foregoing, it is hereby ORDERED that the

Debtors’ Applications for Approval of Employment of Smith Conerly

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LLP as Counsel for Debtors are GRANTED nunc pro tunc to the filing of

the Debtors’ cases.

      IT IS FURTHER ORDERED that SC’s Final Applications for

Chapter 11 Compensation are GRANTED IN PART AND DENIED IN

PART. SC is awarded $2,000 as compensation and reimbursement of

expenses in each of the four cases, for a total of $8,000. If a party objects

to SC’s applying its retainers in satisfaction of that amount, such party

must file an objection with the Court and serve it on the U.S. Trustee and

the Chapter 7 Trustee within fourteen (14) days of the entry of this Order.

If no objections are filed in that time, SC may apply its pre-petition

retainers and shall disgorge the surplus to the Chapter 7 Trustee.

      The Clerk is DIRECTED to serve this Order on the Debtors, SC, the

U.S. Trustee, the Challas, the Challas’ counsel, and the Chapter 7 Trustee.

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